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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION                                                                     MDL No. 2741


                                        TRANSFER ORDER


         Before the Panel: Plaintiffs in the Giglio and Hardeman actions listed on Schedule A move
under 28 U.S.C. § 1407 to centralize pretrial proceedings in this litigation in the Southern District
of Illinois. This litigation consists of twenty-one actions pending in fourteen districts, as listed on
Schedule A. The actions allege that Roundup, a widely used glyphosate-based herbicide
manufactured by Monsanto Company, can cause non-Hodgkin’s lymphoma and that Monsanto failed
to warn consumers and regulators about the alleged risks of Roundup. Since the filing of the motion,
the parties have notified the Panel of another sixteen related actions pending in twelve districts.1

         All responding plaintiffs support centralization, but suggest different transferee districts.
Plaintiffs in three actions and a potential tag-along action support centralization in the Southern
District of Illinois. Plaintiffs in another three actions propose centralization in the Central District
of California. Plaintiffs in one action suggest centralization in the Southern District of Illinois, the
Central District of California, or the Eastern District of California. Plaintiffs in five actions suggest
instead centralization in the District of Hawaii. Plaintiff in one action does not oppose the Southern
District of Illinois, but suggests that the Eastern District of Louisiana is a more appropriate transferee
district. Finally, plaintiff in one potential tag-along action suggests centralization in the Northern
District of Illinois. Various plaintiffs alternatively support the Central District of California, the
District of Hawaii, or the Southern District of Illinois.

         Defendant Monsanto Company opposes centralization. Should the Panel centralize this
litigation over Monsanto’s objections, it alternatively proposes centralization in the Northern District
of California, the Southern District of California, or the Southern District of Florida. Monsanto’s
primary arguments against centralization are that: (1) individualized facts concerning each plaintiff’s
case, such as the nature of plaintiff’s exposure, the formulation of Roundup to which plaintiff was
exposed, and the specific type of non-Hodgkins’ lymphoma plaintiff developed, will predominate
over common factual issues; and (2) informal coordination and cooperation among the involved
parties and courts are preferable to centralization. We are not persuaded by either argument.

        There undoubtedly are some individualized factual issues presented by these actions, but they
do not negate the efficiencies to be gained by centralization. Regardless of the particular formulation

        1
         These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
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of Roundup at issue (all of which employ glyphosate as the active ingredient), or the nature of
plaintiff’s exposure to glyphosate, all the actions entail an overarching query—whether glyphosate
causes non-Hodgkin’s lymphoma in persons exposed to it while using Roundup. Monsanto itself
implicitly acknowledges the predominance of this common question as it has moved in a number
of the underlying actions to bifurcate discovery to address general causation issues before plaintiff-
specific ones. In any event, almost all personal injury litigation involves plaintiff-specific questions
of causation and damages. Those differences are not an impediment to centralization when common
questions of fact are multiple and complex, as they are here. See In re Xarelto (Rivaroxaban) Prods.
Liab. Litig., 65 F. Supp. 3d 1402, 1404 (J.P.M.L. 2014). When discovery and other pretrial
proceedings related to the common issues have been completed, the transferee judge may suggest
Section 1407 remand of the actions to their transferor courts for more individual discovery and trial,
if necessary. See In re Darvocet, Darvon & Propoxyphene Prods. Liab. Litig., 780 F. Supp. 2d 1379,
1381 (J.P.M.L. 2011).

        Turning to Monsanto’s second argument, we conclude that informal coordination among the
involved courts and counsel is not practicable in this instance. Including the potential tag-along
actions, there are now thirty-seven actions pending in twenty-one districts. More than ten different
law firms represent plaintiffs in these actions, which are spread across the country. Even if no
additional actions are filed, the present number of cases, districts, and involved counsel, as well as
the complexity of the issues presented, warrants centralization.

         On the basis of the papers filed and hearing session held, we find that these actions involve
common questions of fact, and that centralization in the Northern District of California will serve
the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation. These actions share common factual questions arising out of allegations that Monsanto’s
Roundup herbicide, particularly its active ingredient, glyphosate, causes non-Hodgkin’s lymphoma.
Plaintiffs each allege that they or their decedents developed non-Hodgkin’s lymphoma after using
Roundup over the course of several or more years. Plaintiffs also allege that the use of glyphosate
in conjunction with other ingredients, in particular the surfactant polyethoxylated tallow amine
(POEA), renders Roundup even more toxic than glyphosate on its own. Issues concerning general
causation, the background science, and regulatory history will be common to all actions.
Centralization will eliminate duplicative discovery; prevent inconsistent pretrial rulings (including
with respect to discovery, privilege, and Daubert motion practice); and conserve the resources of the
parties, their counsel, and the judiciary.

         We select the Northern District of California as the appropriate transferee district for this
litigation. Two of the earliest-filed and most procedurally advanced actions are pending in this
district. The Northern District of California is both convenient and easily accessible for all parties,
and we are convinced that the district has the necessary judicial resources and expertise to efficiently
manage this litigation. Furthermore, centralization in this district allows us to assign this litigation
to the Honorable Vince Chhabria, a skilled jurist who has not yet had the opportunity to preside over
an MDL.
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        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with the
consent of that court, assigned to the Honorable Vince Chhabria for coordinated or consolidated
pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                        __________________________________________
                                                       Sarah S. Vance
                                                           Chair

                                        Marjorie O. Rendell             Charles R. Breyer
                                        Lewis A. Kaplan                 Ellen Segal Huvelle
                                        R. David Proctor                Catherine D. Perry
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LIABILITY LITIGATION                                             MDL No. 2741


                                     SCHEDULE A


          Central District of California

    MCCALL v. MONSANTO COMPANY, C.A. No. 2:16-01609
    HERNANDEZ, ET AL. v. MONSANTO COMPANY, C.A. No. 2:16-01988
    JOHANSING v. MONSANTO COMPANY, C.A. No. 2:16-05035
    SANDERS, ET AL. v. MONSANTO COMPANY, C.A. No. 5:16-00726

          Eastern District of California

    MENDOZA v. MONSANTO COMPANY, C.A. No. 1:16-00406

          Northern District of California

    HARDEMAN v. MONSANTO COMPANY, ET AL., C.A. No. 3:16-00525
    STEVICK, ET AL. v. MONSANTO COMPANY, C.A. No. 3:16-02341

          Southern District of California

    GIGLIO v. MONSANTO COMPANY, ET AL., C.A. No. 3:15-02279

          Southern District of Florida

    RUIZ, ET AL. v. MONSANTO COMPANY, C.A. No. 9:16-80539

          District of Hawaii

    SHEPPARD, ET AL. v. MONSANTO COMPANY, C.A. No. 1:16-00043
    JOHNSON v. MONSANTO COMPANY, C.A. No. 1:16-00075

          Northern District of Illinois

    GIBBS v. MONSANTO COMPANY, C.A. No. 1:16-07588

          Southern District of Illinois

    BRIDGEMAN v. MONSANTO COMPANY, C.A. No. 3:16-00812
    HARRIS v. MONSANTO COMPANY, ET AL., C.A. No. 3:16-00823
    PATTERSON v. MONSANTO COMPANY, C.A. No. 3:16-00825
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     Western District of Kentucky

MEANS v. MONSANTO COMPANY, C.A. No. 5:16-00112

     Eastern District of Louisiana

WORK v. RAGAN AND MASSEY, INC., ET AL., C.A. No. 2:16-07491

     District of Massachusetts

SCHEFFER v. MONSANTO COMPANY, C.A. No. 1:16-11489

     Northern District of Mississippi

COUEY v. MONSANTO COMPANY, C.A. No. 4:16-00149

     District of Nebraska

DOMINA, ET AL. v. MONSANTO COMPANY, C.A. No. 4:16-03074

     Western District of Wisconsin

PORATH v. MONSANTO COMPANY, C.A. No. 3:16-00518
